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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY
                                                  :
  EXPRESS FREIGHT SYSTEMS INC.,
                                                  :       Case: 2:19-cv-12001(SDW)(LDW)
                                       Plaintiff, :
                                                  :
                   - against -                    :
                                                  :
  YMB ENTERPRISES INC., JOEL                      :
  MENDLOVIC, JOHN DOES 1-10 and ABC               :
  CORPS. 1-10 (said names being fictitious),      :
                                                  :
                                   Defendants. :

                                  Affirmation of Joel Mendlovic

         Joel Mendlovic affirms to the following under the laws prohibiting perjury,

              1. I am one of the defendants in the above captioned matter and I submit this

 Declaration based on my own personal knowledge.

              2. I also state the following as an officer of YMB Enterprises, Inc. and upon my

 familiarity of its records.


                                             As for Myself
              3. I reside in the State of New York at 282 Wallabout Street, 1-B, Brooklyn, NY

 11201 and I have resided there at all times relevant to the events described in the Complaint.

              4. I was never served with the Summons and Complaint in this action and on May 9,

 2019 I was not at the alleged address of service 563 Flushing Avenue, Brooklyn NY, 11206 but
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  rather at home at 282 Wallabout Street, 1-B, Brooklyn, NY 11201 assisting my wife with the

  children because we had a family event to attend that evening.

                5. I have never lived in New Jersey.

                 6. I have never owned or had any interest in real property in the State of New Jersey.

                 7. I have never had a bank account in the State of New Jersey.

                 8. I have never kept any funds in the State of New Jersey.

                 9. I have no customers located in the State of New Jersey.


                                   As for YMB Enterprises Inc.
                 10.       YMB Enterprises Inc has its principal place of business in the State of

  New York and is domiciled there at all times relevant to the events described in the Complaint.

                 11.       YMB Enterprises Inc was incorporated in the State of New York.

                 12.       YMB Enterprises Inc has never owned nor had any interest in any real

   property in the State of New Jersey.

                 13.       YMB Enterprises Inc has never had a bank account in the State of New

   Jersey.

                 14.       YMB Enterprises Inc has never kept any funds in the State of New Jersey.

             Dated: Brooklyn, NY
                    July 25, 2019

             Affirmed to this 25th day of July 2019

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         Joel Mendlovic
